     Case 3:20-cv-04151-WHO Document 399-3 Filed 04/01/24 Page 1 of 23



 1    Scott D. Baker (SBN 84923)
      sbaker@reedsmith.com
 2    Jonah D. Mitchell (SBN 203511)
      jmitchell@reedsmith.com
 3
      REED SMITH LLP
 4    101 Second Street, Suite 1800
      San Francisco, CA 94105
 5    Telephone: 415-543-8700
      Facsimile: 415-391-8269
 6

 7    Cameron D. Clawson (SBN 318779)
      cameron.clawson@klarquist.com
 8    Kristin L. Cleveland (SBN 184639)
      kristin.cleveland@klarquist.com
 9    Caroline L. Desmond (Pro Hac Vice)
      caroline.desmond@klarquist.com
10    Klaus H. Hamm (SBN 224905)
11    klaus.hamm@klarquist.com
      Shelby A. Stepper (Pro Hac Vice)
12    Shelby.stepper@klarquist.com
      John D. Vandenberg (Pro Hac Vice)
13    john.vandenberg@klarquist.com
      Mark W. Wilson (Pro Hac Vice)
14    mark.wilson@klarquist.com
15    KLARQUIST SPARKMAN, LLP
      121 SW Salmon Street, Suite 1600
16    Portland, OR 97204
      Telephone: 503-595-5300
17    Facsimile: 503-595-5301
18
      Attorneys for Defendant
19    Siemens Industry Software Inc.

20                               UNITED STATES DISTRICT COURT

21                              NORTHERN DISTRICT OF CALIFORNIA
22                                     SAN FRANCISCO DIVISION
23
      SYNOPSYS, INC.,                             Case No. 3:20-cv-04151-WHO (LB)
24
                   Plaintiff,                     [PROPOSED] DEFENDANT SIEMENS
25                                                INDUSTRY SOFTWARE INC.’S
             v.                                   STATEMENT OF RECENT DECISION
26
      SIEMENS INDUSTRY SOFTWARE INC.,
27
                   Defendant.
28


     [PROPOSED] STATEMENT OF RECENT DECISION                    CASE NO. 3:20-cv-04151-WHO (LB)
     Case 3:20-cv-04151-WHO Document 399-3 Filed 04/01/24 Page 2 of 23



 1          Per this Court’s order granting Defendant’s Unopposed Administrative Motion for Leave
 2   (ECF No. ___), attached as Exhibit A is a copy of the recent decision in Brumfield, Trustee for
 3   Ascent Trust v. IBG LLC, No. 2022-1630, 2024 WL 1292151 (Fed. Cir. Mar. 27, 2024)).
 4

 5   April ___, 2024                            Respectfully submitted,
                                                KLARQUIST SPARKMAN, LLP
 6
                                                By: /s/ Kristin L. Cleveland
 7
                                                    Cameron D. Clawson (SBN 318779)
 8                                                  cameron.clawson@klarquist.com
                                                    Kristin L. Cleveland (SBN 184639)
 9                                                  kristin.cleveland@klarquist.com
                                                    Caroline L. Desmond (Pro Hac Vice)
10                                                  caroline.desmond@klarquist.com
                                                    Klaus H. Hamm (SBN 224905)
11
                                                    klaus.hamm@klarquist.com
12                                                  Shelby A. Stepper (Pro Hac Vice)
                                                    Shelby.stepper@klarquist.com
13                                                  John D. Vandenberg (Pro Hac Vice)
                                                    john.vandenberg@klarquist.com
14                                                  Mark W. Wilson (Pro Hac Vice)
                                                    mark.wilson@klarquist.com
15
                                                    KLARQUIST SPARKMAN, LLP
16                                                  121 SW Salmon Street, Suite 1600
                                                    Portland, OR 97204
17                                                  Telephone: 503-595-5300
                                                    Facsimile: 503-595-5301
18
                                                    Scott D. Baker (SBN 84923)
19
                                                    sbaker@reedsmith.com
20                                                  Jonah D. Mitchell (SBN 203511)
                                                    jmitchell@reedsmith.com
21                                                  REED SMITH LLP
                                                    101 Second Street, Suite 1800
22                                                  San Francisco, CA 94105
                                                    Telephone: 415-543-8700
23
                                                    Facsimile: 415-391-8269
24

25                                                  Attorneys for Defendant
                                                    Siemens Industry Software Inc.
26

27

28



     [PROPOSED] STATEMENT OF RECENT DECISION              -1-       CASE NO. 3:20-cv-04151-WHO (LB)
Case 3:20-cv-04151-WHO Document 399-3 Filed 04/01/24 Page 3 of 23




            EXHIBIT A
             Case 3:20-cv-04151-WHO Document 399-3 Filed 04/01/24 Page 4 of 23


Brumfield, Trustee for Ascent Trust v. IBG LLC, --- F.4th ---- (2024)




                                                           issue in this appeal: U.S. Patent Nos. 6,766,304
              2024 WL 1292151                              (issued July 20, 2004); 6,772,132 (issued August 3,
     Only the Westlaw citation is currently                2004); 7,676,411 (issued March 9, 2010); and
                   available.                              7,813,996 (issued October 12, 2010). The district
    United States Court of Appeals, Federal                court held the asserted claims of the ’411 and ’996
                    Circuit.                               patents invalid, and a jury found the asserted
                                                           claims of the ’304 and ’132 patents infringed (and
    Harris BRUMFIELD, TRUSTEE                              not proved invalid for obviousness) and awarded
        FOR ASCENT TRUST,                                  $6,610,985 in damages, resulting in the final
                                                           judgment now before us.
          Plaintiff-Appellant
                   v.
                                                            1     Plaintiff-Appellant Harris Brumfield was the
                                                                  primary investor in and majority shareholder of
   IBG LLC, Interactive Brokers LLC,                              TT, which was sold in December 2021, with the
        Defendants-Appellees                                      rights to the patents here at issue assigned to a
                                                                  trust, Ascent Trust. Mr. Brumfield, as the sole
                   2022-1630                                      trustee for Ascent Trust, was then substituted
                                                                  for TT as the plaintiff in this action. Like the
                        |
                                                                  parties and the district court, we refer
             Decided: March 27, 2024                              throughout to plaintiff-appellant as Trading
                                                                  Technologies (TT).
Appeal from the United States District Court for
the Northern District of Illinois in No.
1:10-cv-00715, Judge Virginia M. Kendall.                  Only TT, not IBG, appeals. TT challenges three
                                                           rulings of the district court. First, on cross-motions
Attorneys and Law Firms                                    for summary judgment, the district court held that
                                                           the asserted claims of the ’411 and ’996 patents
Michael David Gannon, Baker & Hostetler LLP,               were invalid under 35 U.S.C. § 101, while rejecting
Chicago, IL, argued for plaintiff-appellant. Also          the § 101 challenge to the asserted claims of the
represented by Jennifer Kurcz, Leif R. Sigmond,            ’304 and ’132 patents (with the resulting trial
Jr.; Alaina Lakawicz, Philadelphia, PA.                    limited to a subset of such claims). Trading
                                                           Technologies International, Inc. v. IBG, LLC, No.
Steffen Nathanael Johnson, Wilson, Sonsini,                10 C 715, 2021 WL 2473809, at *5, *7 (N.D. Ill.
Goodrich & Rosati, PC, Washington, DC, argued              June 17, 2021) (101 Opinion). Second, the district
for defendants-appellees. Also represented by              court, acting under Federal Rule of Evidence 702,
Kelsey Curtis; Granville Clayton Kaufman, Natalie          excluded one of the damages theories, concerning
J. Morgan, San Diego, CA; Michael Brett Levin,             foreign activities, proposed by TT’s damages
Palo Alto, CA; Michael S. Sommer, New York,                expert. Trading Technologies International, Inc. v.
NY; Naoya Son, Los Angeles, CA.                            IBG LLC, No. 10 C 715, 2021 WL 5038754, at *2
                                                           (N.D. Ill. July 23, 2021) (FRE 702 Opinion). Third,
Before Prost, Taranto, and Hughes, Circuit Judges.         the district court denied TT’s post-verdict motion
                                                           for a new trial on damages, a motion in which TT
Opinion
                                                           alleged that IBG had misrepresented, by statement
                                                           or omission, how it was calculating the damages
Taranto, Circuit Judge.                                    figures it presented to the jury. Brumfield, Trustee
                                                           for Ascent Trust v. IB LLC, 586 F. Supp. 3d 827,
                                                           830–31 (N.D. Ill. 2022) (Post-Trial Opinion)
*1 Trading Technologies International, Inc.
(TT)—whose successor is the plaintiff-appellant            We reject TT’s challenges. We therefore affirm.
named in the caption—brought this action against
IBG LLC and its subsidiary Interactive Brokers
LLC (together, IBG) in 2010 in the Northern
District of Illinois, alleging infringement of several
                                                           I
TT-owned patents.1 Four of TT’s patents are at

                © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                   2
             Case 3:20-cv-04151-WHO Document 399-3 Filed 04/01/24 Page 5 of 23


Brumfield, Trustee for Ascent Trust v. IBG LLC, --- F.4th ---- (2024)



A                                                          The following claims are representative for
                                                           purposes of the present appeal—two claims to a
The four patents before us have materially the             method, two to a computer readable medium
same specification: The application that issued as         hosting code for execution:
the ’132 patent is the ancestor of the other three
patents (so we cite only the specification of the             ’304 patent, claim 27. A computer readable
’132 patent). The specification describes assertedly          medium having program code recorded thereon
improved graphical user interfaces for commodity              for execution on a computer for displaying
trading and methods for placing trade orders using            market information relating to and facilitating
those interfaces. ’132 patent, col. 3, lines 11–20.           trading of a commodity being traded in an
The specification asserts that the improved                   electronic exchange having an inside market
interfaces allow traders to place orders “quickly             with a highest bid price and a lowest ask price
and efficiently” in volatile markets where speed is           on a graphical user interface, the program code
important. Id., col. 3, line 10; see id., col. 2, lines       causing a machine to perform the following
1–41.                                                         steps:

*2 The claims of the patents differ somewhat,                   dynamically displaying a first indicator in one
including in a respect that plays a role in the                 of a plurality of locations in a bid display
analysis of patent eligibility under § 101 as that              region, each location in the bid display region
issue is presented to us. The asserted claims of the            corresponding to a price level along a
two patents from 2004 involve an interface that, in             common static price axis, the first indicator
the words of the ’304 patent, has a “common static              representing quantity associated with at least
price axis” along which (changing) bids and asks                one order to buy the commodity at the highest
are displayed. ’304 patent, col. 12, lines 41–54                bid price currently available in the market;
(emphasis added). The language of the asserted
claims of the ’132 patent is similar, requiring a               dynamically displaying a second indicator in
“dynamic display of a plurality of bids and a                   one of a plurality of locations in an ask
plurality of asks” in a commodity market, “the                  display region, each location in the ask
dynamic display being aligned with a static display             display region corresponding to a price level
of prices corresponding thereto, wherein the static             along the common static price axis, the second
display of prices does not move in response to a                indicator representing quantity associated with
change in the inside market,” ’132 patent, col. 12,             at least one order to sell the commodity at the
lines 8–15 (emphases added), where “the ‘inside                 lowest ask price currently available in the
market’ is the highest bid price and the lowest ask             market;
price,” id., col. 4, lines 58–60.
                                                                displaying the bid and ask display regions in
The two patents from 2010 are different. The ’411               relation to fixed price levels positioned along
patent, in its claims, requires simply a “price axis,”          the common static price axis such that when
with no requirement that it be static. ’411 patent,             the inside market changes, the price levels
col. 12, lines 30–39. The same is true, based on                along the common static price axis do not
claim construction, for the ’996 patent. Although               move and at least one of the first and second
that patent’s claims use the phrase “static price               indicators moves in the bid or ask display
axis,” the district court, at TT’s urging, construed            regions relative to the common static price
that phrase in the ’996 patent to include price axes            axis;
that can be moved in response to “a re-centering or
                                                                displaying an order entry region comprising a
re-positioning” command, which can be issued
                                                                plurality of locations for receiving commands
automatically rather than by the user. Trading
                                                                to send trade orders, each location
Technologies International, Inc. v. IBG LLC, No.
                                                                corresponding to a price level along the
10 C 715, 2019 WL 6609428, at *2–4 (N.D. Ill.
                                                                common static price axis; and
Dec. 5, 2019). In doing so, the district court noted,
based on the ’996 patent’s prosecution history, that            in response to a selection of a particular
“ ‘static’ in the ’996 [p]atent was to be understood            location of the order entry region by a single
in a broader sense than the ’132 and ’304                       action of a user input device, setting a
[p]atents.” Id. at *3; see TT’s Opening Br. at 5–6.             plurality of parameters for a trade order

                © 2024 Thomson Reuters. No claim to original U.S. Government Works.                               3
            Case 3:20-cv-04151-WHO Document 399-3 Filed 04/01/24 Page 6 of 23


Brumfield, Trustee for Ascent Trust v. IBG LLC, --- F.4th ---- (2024)



      relating to the commodity and sending the                 the bid display region corresponding to a
      trade order to the electronic exchange.                   different price level of a plurality of price
*3 ’304 patent, col. 14, line 47, through col. 15,              levels along a price axis;
line 17.
                                                                displaying, via the computing device, an ask
  ’132 patent, claim 1. A method for placing a                  display region comprising a plurality of
  trade order for a commodity on an electronic                  graphical locations, each graphical location in
  exchange having an inside market with a highest               the ask display region corresponding to a
  bid price and a lowest ask price, using a                     different price level of the plurality of price
  graphical user interface and a user input device,             levels along the price axis;
  said method comprising:
                                                                dynamically displaying, via the computing
     setting a preset parameter for the trade order[;]          device, a first indicator representing quantity
                                                                associated with at least one trade order to buy
     displaying market depth of the commodity,                  the commodity at the current highest bid price
     through a dynamic display of a plurality of                in a first graphical location of the plurality of
     bids and a plurality of asks in the market for             graphical locations in the bid display region,
     the commodity, including at least a portion of             the first graphical location in the bid display
     the bid and ask quantities of the commodity,               region corresponding to a price level
     the dynamic display being aligned with a                   associated with the current highest bid price;
     static display of prices corresponding thereto,
     wherein the static display of prices does not              upon receipt of market information
     move in response to a change in the inside                 comprising a new highest bid price, moving
     market;                                                    the first indicator relative to the price axis to a
                                                                second graphical location of the plurality of
     displaying an order entry region aligned with              graphical locations in the bid display region,
     the static display prices comprising a plurality           the second graphical location corresponding to
     of areas for receiving commands from the user              a price level of the plurality of price levels
     input devices to send trade orders, each area              associated with the new highest bid price,
     corresponding to a price of the static display             wherein the second graphical location is
     of prices; and                                             different from the first graphical location in
                                                                the bid display region;
     selecting a particular area in the order entry
     region through single action of the user input             *4 dynamically displaying, via the computing
     device with a pointer of the user input device             device, a second indicator representing
     positioned over the particular area to set a               quantity associated with at least one trade
     plurality of additional parameters for the trade           order to sell the commodity at the current
     order and send the trade order to the electronic           lowest ask price in a first graphical location of
     exchange.                                                  the plurality of graphical locations in the ask
’132 patent, col. 12, lines 2–26.                               display region, the first graphical location in
                                                                the ask display region corresponding to a price
  ’411 patent, claim 1. A method of displaying                  level associated with the current lowest ask
  market information relating to and facilitating               price;
  trading of a commodity being traded on an
  electronic exchange, the method comprising:                   upon receipt of market information
                                                                comprising a new lowest ask price, moving
     receiving, by a computing device, market                   the second indicator relative to the price axis
     information for a commodity from an                        to a second graphical location of the plurality
     electronic exchange, the market information                of graphical locations in the ask display
     comprising an inside market with a current                 region, the second graphical location
     highest bid price and a current lowest ask                 corresponding to a price level of the plurality
     price;                                                     of price levels associated with the new lowest
                                                                ask price, wherein the second graphical
     displaying, via the computing device, a bid                location is different from the first graphical
     display region comprising a plurality of                   location in the ask display region;
     graphical locations, each graphical location in
                © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                   4
            Case 3:20-cv-04151-WHO Document 399-3 Filed 04/01/24 Page 7 of 23


Brumfield, Trustee for Ascent Trust v. IBG LLC, --- F.4th ---- (2024)



     displaying, via the computing device, an order             the static price axis do not change positions
     entry region comprising a plurality of                     and at least one of the first and second
     graphical areas for receiving single action                indicators moves in the bid or ask display
     commands to set trade order prices and send                regions relative to the static price axis;
     trade     orders,    each   graphical     area
     corresponding to a different price level along             displaying an order entry region aligned with
     the price axis; and                                        the static price axis comprising a plurality of
                                                                areas for receiving commands from the user
    selecting a particular graphical area in the                input device to send trade orders, each area
    order entry region through a single action of               corresponding to a price level of the static
    the user input device to both set a price for the           price axis; and
    trade order and send the trade order having a
    default quantity to the electronic exchange.                 receiving a plurality of commands from a
’411 patent, col. 12, line 23, through col. 13, line             user, each command sending a trade order to
16.                                                              the electronic exchange, each trade order
                                                                 having an order quantity based on the default
  ’996 patent, claim 1. A computer readable                      quantity without the user designating the
  medium having program code recorded thereon                    default quantity between commands, wherein
  for execution on a computer having a graphical                 each command results from selecting a
  user interface and a user input device, the                    particular area in the order entry region
  program code causing a machine to perform the                  corresponding to a desired price level as part
  following method steps:                                        of a single action of the user input device with
                                                                 a pointer of the user input device positioned
     receiving market information for a commodity                over the particular area to both set an order
     from an electronic exchange, the market                     price parameter for the trade order based on
     information comprising an inside market with                the desired price level and send the trade order
     a current highest bid price and a current                   to the electronic exchange.
     lowest ask price;                                     *5 ’996 patent, col. 11, line 45, through col. 12,
                                                           line 24.
     receiving an input from a user that designates
     a default quantity to be used for a plurality of
     trade orders;

     dynamically displaying a first indicator in one       B
     of a plurality of locations in a bid display
     region, each location in the bid display region       TT sued IBG for infringement of the four patents
     corresponding to a price level along a static         we have identified, asserting various claims—some
     price axis, the first indicator representing          claiming a method, some a system, and some “a
     quantity associated with at least one order to        computer readable medium having program code
     buy the commodity at the current highest bid          recorded thereon for execution on a computer”
     price;                                                (e.g., ’304 patent, claim 27, quoted supra). As
                                                           relevant for present purposes, the instrument of the
     dynamically displaying a second indicator in          alleged infringement was the BookTrader module
     one of a plurality of locations in an ask             (trading tool) that is part of IBG’s Trader
     display region, each location in the ask              Workstation Platform (TWS), software that traders
     display region corresponding to a price level         load onto their computers and use for buying and
     along the static price axis, the second               selling on exchanges, such as commodities
     indicator representing quantity associated with       exchanges. IBG released TWS BookTrader a few
     at least one order to sell the commodity at the       months before the ’304 patent issued in July 2004
     current lowest ask price;                             (the ’132 patent issued the next month and the ’411
                                                           and ’996 patents in 2010). TT alleged that IBG
     displaying the bid and ask display regions in         infringed the ’304 and ’132 patents via TWS
     relation to a plurality of price levels arranged      BookTrader starting as soon as those patents
     along the static price axis such that when the        issued, and those allegations went to trial. The
     inside market changes, the price levels along         BookTrader tool also was part of a different IBG

                © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                 5
            Case 3:20-cv-04151-WHO Document 399-3 Filed 04/01/24 Page 8 of 23


Brumfield, Trustee for Ascent Trust v. IBG LLC, --- F.4th ---- (2024)



product called WebTrader (for use on the world             101 Opinion, 2021 WL 2473809, at *6. In so
wide web), but WebTrader was involved only in              ruling, the court pointed to our non-precedential
the claims that IBG infringed claims of the ’411           decision in another case between TT and IBG,
and ’996 patents—which, as will be described,              Trading Technologies International, Inc. v. IBG
were held invalid.                                         LLC, 767 F. App’x 1006 (Fed. Cir. 2019), in which
                                                           we agreed with a § 101 challenge to claims of U.S.
We describe the three rulings of the district court        Patent No. 7,693,768, which is a descendant of the
that are at issue on appeal, though not in                 ’132 patent and whose claims call simply for a
chronological order.                                       price axis, not a static price axis.

                                                           *6 The court also rejected TT’s contention that
                                                           another nonprecedential decision of this court, IBG
                                                           LLC v. Trading Technologies International, Inc.,
1                                                          757 F. App’x 1004 (Fed. Cir. 2019) (IBG I),
                                                           justified rejecting the § 101 challenge here. In IBG
In June 2021, on cross-motions for summary                 I, we held that the four patents at issue in the
judgment on the § 101 eligibility of the four              present case did not qualify for Covered Business
patents’ asserted claims, the district court               Method (CBM) review under § 18 of the
conducted the two-step analysis described in Alice         Leahy-Smith America Invents Act, Pub. L. No.
Corp. v. CLS Bank International, 573 U.S. 208,             112-29, 125 Stat. 284, 329–31 (2011) (AIA), so we
134 S.Ct. 2347, 189 L.Ed.2d 296 (2014), and ruled          did not reach the § 101 merits. IBG I, 757 F. App’x
partly for TT and partly for IBG. 101 Opinion,             at 1007–08. We reasoned that our earlier holding of
2021 WL 2473809, at *1, *6–7. The court first              eligibility as to the ’304 and ’132 patents in CQG
rejected IBG’s § 101 challenge to the ’304 and             implied that those patents did not qualify for CBM
’132 patents’ claims. Id. at *5. The court discussed       review. Id. We then stated, with no elaboration,
our nonprecedential decision in Trading                    that we saw “no meaningful difference” on the
Technologies International, Inc. v. CQG, Inc., in          CBM-qualification issue for the ’411 and ’996
which we upheld claims of the ’304 and ’132                patents, though there was no predicate decision of
patents against a § 101 challenge (asserted by             eligibility for those patents, and that we were not
CQG), reasoning that the claims are “ ‘directed to a       reaching the § 101 issue. Id. at 1008. In the present
specific implementation of a solution to a problem         case, the district court concluded that, although
in the software arts.’ ” 675 F. App’x 1001, 1006           “the inquiries under CBM review and § 101
(Fed. Cir. 2017) (CQG) (quoting Enfish, LLC v.             eligibility are related,” the CBM determination did
Microsoft Corp., 822 F.3d 1327, 1339 (Fed. Cir.            “not dictate a finding of § 101 eligibility here.” 101
2016)). The district court saw no persuasive reason        Opinion, 2021 WL 2473809, at *7.
to draw a different conclusion here, though the
record is somewhat different. 101 Opinion, 2021            TT’s case on infringement of the ’304 and ’132
WL 2473809, at *5. IBG does not appeal the                 patents eventually went to trial, and that trial
district court’s rejection of its § 101 challenge to       involved only method and “computer readable
the asserted claims of the ’304 and ’132 patents.          medium” (CRM) claims: five method claims (1,
                                                           12, 15, 17, and 22) and one CRM claim (27) of the
Moving to the ’411 and ’996 patents, the district          ’304 patent, and three method claims (1, 7, and 25)
court held the asserted claims of those patents to be      and two CRM claims (8 and 51) of the ’132 patent.
invalid because they claim subject matter that is          Earlier in the case, TT had asserted a larger set of
ineligible for patenting under § 101. Id. at *5–7.         claims, including some system claims, but we need
The court stressed that those claims are broader           not consider any system claims in addressing the
than those of the ’304 and ’132 patents (in that they      two issues presented on appeal concerning the ’304
do not preclude automatic movement of the price            and ’132 patents because TT does not seek to
axis) and reasoned that TT had failed to explain           revive any system claims. See TT’s Opening Br. at
how these broader claims provide a specific                48, 66 (seeking new trial only on damages for these
solution to the problem solved by the ’304 and             patents).
’132 patents. Id. at *6. Given the difference, the
court concluded that the ’411 and ’996 patents’
claims amount to nothing more than “the abstract
idea of placing orders on an electronic exchange.”
                © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                 6
            Case 3:20-cv-04151-WHO Document 399-3 Filed 04/01/24 Page 9 of 23


Brumfield, Trustee for Ascent Trust v. IBG LLC, --- F.4th ---- (2024)



2                                                          caused by the activities of foreign users.” Id. at *2.
                                                           But the court denied the motion with respect to the
In 2020, before the § 101 ruling, IBG moved to             CRM claims of the patents. See ’304 patent, col.
exclude certain proposed testimony of TT’s                 14, lines 47–48 (claim 27; all other claims are
damages expert, Catherine Lawton, under Federal            method claims); ’132 patent, col. 12, lines 52–53
Rule of Evidence 702. In July 2021, not long               (claims 8–13, 30–39, 51; all other claims are either
before the trial, the district court ruled on the          method or system claims). Based on the allegations
motion. The court allowed much of Ms. Lawton’s             about foreign users’ downloading of TWS from
proposed testimony, but it excluded proposed               U.S. servers and entry into a “Customer
testimony advancing one particular basis for Ms.           Agreement,” the court concluded that the parties
Lawton’s proposed amount of damages, a basis               genuinely disputed facts that might establish
tied to activities of foreign users of TWS                 domestic infringement—i.e., concerning whether
BookTrader. FRE 702 Opinion, 2021 WL                       IBG was selling (or offering to sell) its BookTrader
5038754, at *2.                                            product to foreign users and, if so, whether it was
                                                           doing so domestically. Id. at *2–4. That summary
Before describing that ruling, we describe another         judgment ruling has not been appealed.
ruling (issued during briefing on the Rule 702
motion and ultimately relied on in the FRE 702             *7 The district court relied on that ruling in
Opinion) on a related IBG motion—in which IBG              addressing IBG’s damages-evidence motion. Ms.
sought summary judgment of no direct or indirect           Lawton proposed as damages not an award of lost
infringement of the asserted claims (of all four           profits suffered by TT, but a reasonable royalty for
patents, at the time) based on activities of foreign       IBG’s infringing activities, J.A. 87413—based on a
users of the TWS BookTrader trading tool.2                 hypothetical negotiation on July 20, 2004, the day
Trading Technologies International, Inc. v. IBG            the ’304 patent issued (to be followed two weeks
LLC, No. 10 C 715, 2020 WL 7408745 (N.D. Ill.              later by issuance of the ’132 patent), J.A. 87658.
Dec. 17, 2020) (Partial SJ Opinion). The district          Specifically, she proposed a royalty structured as a
court, in the Partial SJ Opinion, explained what it        per-user, per-month royalty—for each month,
deemed a materially undisputed fact about foreign          starting from the July 20, 2004 issuance of the
users of TWS BookTrader: “a user located in a              earliest patent, TT would receive a fixed amount
different country downloads the TWS software               per active user of IBG’s accused product. J.A.
platform to her computer located in that country           87414–15, 87942, 87963. In her proposed damages
and uses a mouse and a monitor located in that             calculation, Ms. Lawton included foreign active
country to place orders and send them to the               users of TWS, identifying four bases (of different
exchange” where the trades occur. Id. at *1. The           scope) for such inclusion. FRE 702 Opinion, 2021
district court then ruled on whether there was a           WL 5038754, at *2; J.A. 87843–44.
triable issue of fact as to whether IBG, or its
foreign users through their activities involving           The district court allowed the proposed testimony
TWS BookTrader, met the domestic-act                       as to two of the asserted bases: “making a copy of
requirement of 35 U.S.C. § 271(a), producing               the accused products via a server located in the
direct or indirect infringement. At the time, TT was       United States”; and “sale of the accused products
asserting method claims, system claims, and CRM            in the United States via the user’s entry into a
claims.                                                    Customer Agreement.” FRE 702 Opinion, 2021
2      When IBG moved for partial summary                  WL 5038754, at *2. The court explained that it had
       judgment regarding foreign users, the               already concluded, in its Partial SJ Opinion, that
       WebTrader product, involved in the allegations      those two bases, if the allegations of fact were
       of infringement of the ’411 and ’996 patents,       proved, could establish domestic infringement.
       was still in the case, but IBG’s motion             FRE 702 Opinion, 2021 WL 5038754, at *2. The
       addressed only the TWS product.                     district court disallowed the two other asserted
                                                           bases, one that is not at issue on appeal and one
                                                           that is. Id. at *2–3.3
In answering that question, the court treated               3     The disallowed basis that is not on appeal
together the method and system claims of the                      involved foreign users’ “use of the accused
patents, as to which IBG’s motion was unopposed                   products in the United States.” FRE 702
by TT, and granted “summary judgment related to                   Opinion, 2021 WL 5038754, at *2. The district
infringement of the method and system claims
               © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                  7
           Case 3:20-cv-04151-WHO Document 399-3 Filed 04/01/24 Page 10 of 23


Brumfield, Trustee for Ascent Trust v. IBG LLC, --- F.4th ---- (2024)



       court disallowed that basis for want of evidence    Geophysical Corp., 585 U.S. 407, 138 S.Ct. 2129,
       that “foreign users” engaged in such use. Id. at    201 L.Ed.2d 584 (2018), though WesternGeco
       *3 (emphasis added). TT does not challenge that     involved lost-profits, not reasonable-royalty,
       ruling on appeal.                                   damages, and involved infringement under 35
                                                           U.S.C. § 271(f)(2), not under § 271(a). J.A.
                                                           88406–11; see J.A. 87851 (Ms. Lawton’s expert
The currently disputed disallowed basis was, in            report invoking WesternGeco). TT, like Ms.
Ms. Lawton’s words, IBG’s “ ‘making’ the accused           Lawton, focused on IBG’s domestic designing and
products in the United States with foreign                 programming of TWS BookTrader when
damages.” J.A. 87844, 87851 (capitalization                discussing the “making” identified in this basis for
removed); see FRE 702 Opinion, 2021 WL                     damages, and on the assertion that IBG “markets
5038754, at *2. Regarding the “making the accused          and distributes/licenses its BookTrader tool to a
product” phrase, Ms. Lawton stated that the TWS            worldwide audience.” J.A. 88411–12.
software was “designed and made” and
“developed” in the United States, J.A. 87851–52,           *8 The district court agreed with IBG, excluding
having previously stated that “BookTrader is the           the evidence as “premised on a misapplication of
Accused Product and is included in every version           controlling law.” FRE 702 Opinion, 2021 WL
of TWS and WebTrader,” J.A. 87793. Regarding               5038754, at *2. The district court understood
the “foreign damages” phrase, she opined, as               WesternGeco to hold that “a patent owner claiming
relevant here, that TT should receive compensation         infringement under 35 U.S.C. § 271(f)(2) may
(damages) for the foreign users’ use of copies of          recover lost foreign profits proximately caused by
TWS. J.A. 87851–52. She proposed inclusion, in             domestic infringement.” Id. (quoting 585 U.S. at
the per-user, per-month royalty, of all foreign            417, 138 S.Ct. 2129). The district court reasoned,
active users in a given month (from July 20, 2004),        however, that it was unclear what WesternGeco
with no refinement to narrow the pool to any               implies about “the present case involving
identified subgroups of such foreign active users,         infringement under § 271(a) and reasonable royalty
J.A. 87837, because, she opined, IBG deliberately          damages.” Id. The district court therefore
markets the TWS software worldwide. J.A.                   concluded that the controlling law for this case
87853–54. She rested that proposal on her                  continued to be found in Power Integrations,
“understand[ing] that TT is entitled to worldwide          which involved damages for § 271(a) infringement
patent damages for harm that is the foreseeable and        (though, like WesternGeco, it involved an issue
but-for result of infringement in the United States.”      about lost profits, not reasonable royalties). Id.
J.A. 87851.                                                (citing Power Integrations, 711 F.3d at 1371, for
                                                           the proposition that “[g]enerally, even after
IBG moved to exclude that damages basis as                 establishing one or more acts of infringement in the
impermissibly resting on an incorrect view of the          United States, a patentee may not recover damages
governing law. IBG argued that “Ms. Lawton’s               for worldwide sales of the patented invention on
worldwide damages opinion improperly includes              the theory that ‘those foreign sales were the direct
foreign users with no link to any alleged US               foreseeable result of [the infringer’s] domestic
infringing activities” (capitalization removed),           infringement’ ” (second alteration in original)).
invoking the principle that “ ‘[i]t is axiomatic that
U.S. patent law does not operate extraterritorially        The “making the accused product” basis of
to prohibit patent infringement abroad[,]’ and it          damages was therefore excluded at trial, but TT
‘do[es] not thereby provide compensation for a             was permitted to present its evidence based on the
defendant’s foreign exploitation of a patented             making of a copy for the foreign user via a
invention, which is not infringement at all.’ ” J.A.       domestic server and the making of a domestic sale
85143 (second and third alteration in original)            via a Customer Agreement between the foreign
(quoting Power Integrations, Inc. v. Fairchild             user and IBG. The jury found infringement,
Semiconductor International, Inc., 711 F.3d 1348,          rejected the remaining validity challenges, and
1370–71 (Fed. Cir. 2013)). Ms. Lawton’s reliance           awarded damages of $6,610,985. In its post-trial
on a foreseeability-plus-but-for-cause standard,           opinion, the district court reiterated its exclusion of
IBG contended, was contrary to law. J.A. 85146,            the disputed damages basis. Post-Trial Opinion,
85148. TT responded that the proposal was legally          586 F. Supp. 3d at 839–40.
permissible based on WesternGeco LLC v. ION

                © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                  8
            Case 3:20-cv-04151-WHO Document 399-3 Filed 04/01/24 Page 11 of 23


Brumfield, Trustee for Ascent Trust v. IBG LLC, --- F.4th ---- (2024)



                                                           calculation only because of information newly
                                                           presented at trial, explaining that TT had access
                                                           even before trial to the information necessary to
3                                                          reach that new understanding. Id.
The third ruling before us on appeal is the post-trial
ruling concerning the damages evidence and
argument submitted by IBG (not TT). At trial in
2021, TT argued that IBG had directly infringed, or        4
induced others to infringe, method claims and
CRM claims of the ’132 and ’304 patents based on           *9 The district court denied TT’s motion for a new
the TWS BookTrader trading tool. Of significance           trial on February 22, 2022. TT timely filed a notice
for purposes of the third ruling on appeal to us, not      of appeal. We have jurisdiction under 28 U.S.C. §
all users of TWS use the BookTrader feature,               1295(a)(1).
which was the only accused feature of TWS. For
present purposes, we accept that the jury award of         TT challenges three rulings: the district court’s
$6,610,985 corresponds to the total put forth by           grant of summary judgment of invalidity of the
IBG at a royalty rate measured by domestic usage,          asserted claims of the ’411 and ’996 patents, the
rather than global monthly users: 10 cents per             district court’s exclusion of one basis for
commodity-futures unit sold by users in the United         recovering “foreign damages,” and the district
States via the accused BookTrader module only.             court’s denial of TT’s motion for a new damages
By contrast, TT’s global monthly user royalty,             trial. We address those challenges in turn.
which included all TWS users regardless of
whether they used BookTrader, summed to
$962,440,850 over the period of infringement.

After the trial, TT moved for a new trial on               II
damages and post-trial damages discovery under
Federal Rules of Civil Procedure 59(a)(1)(A) and           We agree with the district court that the asserted
60(b)(3), alleging that IBG had withheld                   claims of the ’411 and ’996 patents claim ineligible
information during discovery and presented false           subject matter. In this case, where we see no
testimony at trial on how, in IBG’s own calculation        legally material facts in dispute, we decide the §
of damages, it was counting units sold via                 101 issue de novo. See International Business
BookTrader. J.A. 93233; Post-Trial Opinion, 586            Machines Corp. v. Zillow Group, Inc., 50 F.4th
F. Supp. 3d at 833–34. TT argued essentially that          1371, 1376–77 (Fed. Cir. 2022).
IBG was undercounting the number of units traded
using BookTrader by not counting units traded
using a combination of BookTrader and another
TWS feature, despite representing otherwise to TT          A
and to the jury. J.A. 93233–34, 93239, 103633–34.
The district court denied the motion.                      The asserted claims of the ’411 and ’996 patents
                                                           are directed to abstract ideas, and they add nothing
The      district   court   stated     that    such        (no inventive concept) that transforms them into
misrepresentation, if it had occurred, could form          claims to eligible subject matter. Under the
the basis for a new trial under either Rule 59 or          two-step analysis of Alice, the claims are therefore
Rule 60. Post-Trial Opinion, 586 F. Supp. 3d at            invalid under § 101. We drew the same conclusion
833–34. The district court determined, however,            in two precedential decisions in cases involving
that TT had not justified the granting of the              four other TT patents, one of them (U.S. Patent No.
new-trial or discovery relief it sought. The court         7,904,374) a child of the ’996 patent. Trading
ruled that TT had not shown that IBG had either            Technologies International, Inc. v. IBG LLC, 921
withheld information during discovery or presented         F.3d 1084 (Fed. Cir. 2019) (IBG II); Trading
false testimony on how it was counting units               Technologies International, Inc. v. IBG LLC, 921
traded. Id. at 837–38. The court also rejected TT’s        F.3d 1378 (Fed. Cir. 2019) (IBG III). We see no
claim for relief based on TT’s assertion that it           material distinction between those cases and this
reached its new understanding of IBG’s damages             one.
                © 2024 Thomson Reuters. No claim to original U.S. Government Works.                               9
            Case 3:20-cv-04151-WHO Document 399-3 Filed 04/01/24 Page 12 of 23


Brumfield, Trustee for Ascent Trust v. IBG LLC, --- F.4th ---- (2024)



                                                           indicators along a scaled price axis is
We consider “the focus of the claimed advance              well-understood, routine, conventional activity that
over the prior art” at the first step of Alice. IBG II,    does not add something significantly more to the
921 F.3d at 1092 (internal quotation marks omitted         abstract idea.” IBG II, 921 F.3d at 1093. Given the
where quoting Intellectual Ventures I LLC v.               absence of an improvement in computer
Capital One Financial Corp., 850 F.3d 1332, 1338           functionality, we conclude that the specific claim
(Fed. Cir. 2017)). Here, the claims focus on the           elements, “individually and as an ordered
receipt and display of certain market information          combination,” id., even if they make particular
(bids and offers) in a manner that newly helps users       choices among abstract ideas involving information
see the information for use in making trades. But          and ordering, do not add an inventive concept
the combination of receipt and display of                  needed for eligibility.
information, even of a particular type, and use of
the information to engage in the fundamental               We have presented the foregoing analysis with
economic practice of placing an order, are abstract        specific reference to the analysis set forth in the
ideas. See id. at 1092–93 (collecting cases).              two cited IBG cases, applied to the similar claims
                                                           at issue here. But that is only because the claims
Nothing in the claims, understood in light of the          here are so similar to the claims in those cases. The
specification, calls for anything but preexisting          principles that control here are amply supported by
computers and displays, programmed using                   numerous other precedents, cited in or postdating
techniques known to skilled artisans, to present the       those decisions, as well. See, e.g., Ultramercial,
new arrangement of information. See, e.g., ’132            Inc. v. Hulu, LLC, 772 F.3d 709, 715 (Fed. Cir.
patent, col. 4, line 61, through col. 5, line 3; ’411      2014); OIP Technologies, Inc. v. Amazon.com,
patent, col. 4, line 63, through col. 5, line 4; ’996      Inc., 788 F.3d 1359, 1362 (Fed. Cir. 2015);
patent, col. 4, lines 57–65. In that circumstance, a       Electric Power Group, LLC v. Alstom S.A., 830
claim to “a purportedly new arrangement of                 F.3d 1350, 1353 (Fed. Cir. 2016); Intellectual
generic information that assists traders in                Ventures I LLC, 850 F.3d at 1338; Credit
processing information more quickly” is a claim            Acceptance Corp., 859 F.3d at 1055; Interval
“directed to the abstract idea of graphing bids and        Licensing LLC v. AOL, Inc., 896 F.3d 1335, 1345
offers to assist a trader to make an order.” IBG II,       (Fed. Cir. 2018); SAP America, Inc., 898 F.3d at
921 F.3d at 1093; see also id. at 1093–95. The             1167; Data Engine Technologies LLC v. Google
focus is not on improving computers, as “mere              LLC, 906 F.3d 999, 1007–08 (Fed. Cir. 2018);
automation of manual processes using generic               Ericsson Inc. v. TCL Communication Technology
computers” does not constitute such an                     Holdings Ltd., 955 F.3d 1317, 1327 (Fed. Cir.
improvement. IBG III, 921 F.3d at 1384 (internal           2020); IBM, 50 F.4th at 1378.
quotation marks omitted where quoting Credit
Acceptance Corp. v. Westlake Services, 859 F.3d
1044, 1055 (Fed. Cir. 2017)); id. at 1385
(“[A]rranging information along an axis does not
improve the functioning of the computer, make it           B
operate more efficiently, or solve any technological
problem.”).                                                TT argues that we should reject IBG’s § 101
                                                           challenge to the asserted claims of the ’411 and
*10 TT also cannot succeed at the second step of           ’996 patents because, as noted above, we rejected a
Alice, requiring an inventive concept to avoid             § 101 challenge to claims of the ’304 and ’132
ineligibility of a claim held at the first step to be      patents in our decision in CQG. But that decision is
directed to an abstract idea. “The abstract idea           not precedential, and “[w]e are not bound by
itself cannot supply the inventive concept, no             non-precedential decisions at all, much less ones to
matter how groundbreaking the advance.” IBG II,            different patents, different specifications, or
921 F.3d at 1093 (internal quotation marks omitted         different claims.” IBG II, 921 F.3d at 1095
where quoting SAP America, Inc. v. InvestPic,              (emphasis added). The lack of precedential force is
LLC, 898 F.3d 1161, 1171 (Fed. Cir. 2018)); IBG            reason enough to reject TT’s reliance on CQG, and
III, 921 F.3d at 1385 (same). We have held that            the difference in the claims reinforces that
“receiving market information is simply routine            conclusion.
data gathering, and displaying information as
                                                           The claims of the ’304 and ’132 patents at issue in
                © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                10
            Case 3:20-cv-04151-WHO Document 399-3 Filed 04/01/24 Page 13 of 23


Brumfield, Trustee for Ascent Trust v. IBG LLC, --- F.4th ---- (2024)



CQG require a “static price axis,” 675 F. App’x at         AIA § 18(d)(1). See IBG I, 757 F. App’x at
1003 (quoting ’304 patent, col. 12, line 36, through       1007–08. That rationale did not apply to the ’411
col. 13, line 3), whereas the claims of the ’411 and       and ’996 patents, for which no eligibility holding
’996 patents at issue here are broader, allowing           existed.
some automatic movement of the price axis (by
construction, in the case of the ’996 patent,              Moreover, what TT now urges is not what IBG I
Trading Technologies, 2019 WL 6609428, at *3).             concluded for two patents—that eligibility implied
IBG has not appealed the § 101 ruling regarding            nonqualification for CBM review—but the logical
the ’304 and ’132 patents, so we have no occasion          converse of that rationale (in generalized form),
here to question that the static price axis can be         namely, that nonqualification for CBM review
characterized as providing “a specific solution to         implies eligibility. That converse principle,
[a] then-existing technological problem[ ],” Data          however, is not found in IBG I or in any other
Engine, 906 F.3d at 1007–08—in particular, to the          authority cited by TT. And we see no good reason
problem described by TT, namely, that a trader             to adopt it. The “for technological inventions”
might click a location on the screen in an attempt         language used in AIA § 18(d)(1) with respect to the
to execute a transaction at a particular price but the     expired CBM program served merely to curtail
attempt might fail if the price axis moved                 access to a special, temporary avenue for
automatically, see TT’s Opening Brief at 7–8. Even         patentability review, not to loosen or otherwise
if the static price axis provides a specific solution      alter the substantive standards governing the merits
to an existing problem, however, it does not follow        determination of patentability, including § 101
that the claims at issue here, which cover displays        eligibility. That language has not defined what is
with automatic movement of the price axis, provide         sufficient for eligibility under the § 101 standards
such a specific solution. And TT suggests no other         we have developed in an extensive body of case
problem for which the ’411 and ’996 patents claim          law applying the principles of Alice in a variety of
a “specific” solution. Accordingly, we conclude            settings. We therefore reject TT’s argument that
that CQG does not support alteration of our direct         the ’411 and ’996 patents’ failure to qualify for
application of the § 101 standards reflected in our        CBM review implies that their claims are eligible
precedential decisions to hold that the asserted           under § 101.
claims of the ’411 and ’996 patents are invalid for
claiming the above-identified abstract ideas
concerning the display of market information to
facilitate trading in commodities markets.
                                                           III
*11 TT also argues that a conclusion of eligibility
of the asserted claims of the ’411 and ’996 patents        TT argues that the district court erred in excluding
is compelled by our holding in IBG I. In that              one basis for damages proposed by TT’s damages
decision, however, we did not hold that any claims         expert, Ms. Lawton—specifically, that TT should
of the ’411 and ’996 patents were ineligible under         recover “foreign damages” flowing from “
§ 101—an issue we did not reach—but, rather, that          ‘[m]aking’ the Accused Products in the United
those patents did not qualify for CBM review. 757          States.” J.A. 87851. Exclusion of evidence under
F. App’x at 1007–08. We reject TT’s argument               Federal Rule of Evidence 702 is generally
based on IBG I.                                            reviewed under the standards prescribed by the
                                                           pertinent regional circuit. Power Integrations, 711
TT does not invoke claim preclusion or issue               F.3d at 1356. Seventh Circuit law, applicable here,
preclusion based on the IBG I decision. And the            provides for review for an abuse of discretion,
IBG I decision is not precedential, so that decision       which exists when the exclusion rests on a legal
is not binding: “We are not bound by                       error, as determined de novo on appeal. See
non-precedential decisions at all ....” IBG II, 921        Downing v. Abbott Laboratories, 48 F.4th 793, 804
F.3d at 1095. In addition, the only rationale given        (7th Cir. 2022); United States v. Dingwall, 6 F.4th
in the IBG I decision was that an earlier eligibility      744, 750 (7th Cir. 2021). Where an exclusion rests
conclusion (as to the ’132 and ’304 patents in             on an interpretation of patent law, we apply our
CQG) implied nonqualification for CBM review               own law and review the interpretation without
under the requirement that a patent, to qualify,           deference. BASF Plant Science, LP v.
must not be “for [a] technological invention[ ],”          Commonwealth Scientific & Industrial Research
                                                           Organisation, 28 F.4th 1247, 1275 (Fed. Cir. 2022)
                © 2024 Thomson Reuters. No claim to original U.S. Government Works.                               11
            Case 3:20-cv-04151-WHO Document 399-3 Filed 04/01/24 Page 14 of 23


Brumfield, Trustee for Ascent Trust v. IBG LLC, --- F.4th ---- (2024)



(quoting Sulzer Textil A.G. v. Picanol N.V., 358           determine whether the WesternGeco analysis
F.3d 1356, 1363 (Fed. Cir. 2004)).                         would ultimately have supported a recovery by
                                                           Power Integrations of damages based on foreign
TT argues that the district court should have              conduct given the facts of its case. Here, and in
applied the extraterritoriality analysis articulated by    future cases, analysis of the issue should simply
the Supreme Court in WesternGeco, rather than              proceed under the WesternGeco framework.4
more restrictive principles the district court drew         4     After the Supreme Court decided WesternGeco,
from Power Integrations. The district court was                   (which involved 35 U.S.C. § 271(f)(2)), the
reluctant to conclude, on its own, that WesternGeco               district court in the Power Integrations case
displaces Power Integrations as the required                      (which involved 35 U.S.C. § 271(a)) concluded
framework of analysis for this case, involving 35                 that WesternGeco “implicitly over-ruled” our
U.S.C. § 271(a) and a reasonable royalty. We now                  2013 Power Integrations decision. Power
draw that conclusion, in agreement with TT.                       Integrations, Inc. v. Fairchild Semiconductor
Nevertheless, we conclude that, even under the                    International, Inc., No. 04-1371-LPS, 2018 WL
                                                                  4804685, at *1 (D. Del. Oct. 4, 2018) (Stark, J.).
WesternGeco framework, the evidence offered by                    On that basis, the court, acting under Federal
TT’s expert was properly excluded.                                Rule of Civil Procedure 60(b)(6), granted Power
                                                                  Integrations relief from the earlier judgment and
                                                                  newly allowed it “to seek recovery of
                                                                  worldwide damages,” and the court certified the
                                                                  ruling for interlocutory review by this court
A                                                                 under 28 U.S.C. § 1292(b). Id. at *2. But the
                                                                  appeal was dismissed before appellate review
                                                                  occurred, and the case settled, producing a
                                                                  dismissal in the district court, before a new trial
1                                                                 occurred, No. 04-1371-LPS (D. Del. Oct. 25,
                                                                  2019), ECF No. 995.
*12 For a determination whether patent damages
are properly awarded in a particular case based
partly on conduct abroad, the decision in                  We proceed with a detailed description of the
WesternGeco established a framework of analysis            WesternGeco analysis, enabling us then to address
that necessarily supersedes the analysis set forth in      the doctrinal issues flagged by TT and by the
our earlier decision Power Integrations. Not only is       district court, before, in subsection III.B infra,
the structure of analysis different, but we also had       applying the analysis to this case.
relied on the Power Integrations analysis in our
decision in the WesternGeco case on review in the
Supreme Court, see WesternGeco L.L.C. v. ION
Geophysical Corp., 791 F.3d 1340, 1350–51 (Fed.
Cir. 2015), and the Supreme Court reversed our             2
decision, noting the reliance on Power
Integrations, 585 U.S. at 411–12, 138 S.Ct. 2129.          WesternGeco was the owner of several patents
In these circumstances, we must follow the                 covering systems for surveying the ocean floor by
Supreme Court’s analysis, which now governs in             use of sound-sending-and-receiving devices on
place of the analysis of Power Integrations. See           long streamers towed by ships, where relevant
Ideker Farms, Inc. v. United States, 71 F.4th 964,         claims required particular features for steering the
988 n.11 (Fed. Cir. 2023); California Institute of         streamers. See WesternGeco, 585 U.S. at 411, 138
Technology v. Broadcom Ltd., 25 F.4th 976, 991             S.Ct. 2129; WesternGeco, 791 F.3d at 1343,
(Fed. Cir. 2022); SIPCO, LLC v. Emerson Electric           vacated, 579 U.S. 915, 136 S.Ct. 2486, 195
Co., 980 F.3d 865, 870 n.1 (Fed. Cir. 2020); Troy          L.Ed.2d 820 (2016), reinstated in relevant part,
v. Samson Manufacturing Corp., 758 F.3d 1322,              837 F.3d 1358 (Fed. Cir. 2016), reversed, 585 U.S.
1326 (Fed. Cir. 2014); Doe v. United States, 372           at 417, 138 S.Ct. 2129. As relevant to the Supreme
F.3d 1347, 1354–57 (Fed. Cir. 2004).                       Court decision, a jury found the defendant ION
                                                           Geophysical liable for infringement of the patent
We do not parse Power Integrations to identify             claims under 35 U.S.C. § 271(f)(2),5 where the
which particular sentences are now superseded by           infringement consisted of ION Geophysical’s
WesternGeco. Nor do we have occasion to                    domestic manufacturing of components of

                © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                     12
           Case 3:20-cv-04151-WHO Document 399-3 Filed 04/01/24 Page 15 of 23


Brumfield, Trustee for Ascent Trust v. IBG LLC, --- F.4th ---- (2024)



patent-claimed systems and its sending of the               extraterritorial. 585 U.S. at 412–17, 138 S.Ct.
components abroad to companies that would use               2129. Specifically, the Court concluded that § 284
them in assembling the overall systems and then             permits “the patent owner to recover for lost
use the systems to compete with WesternGeco in              foreign profits,” id. at 417, 138 S.Ct. 2129, when
selling surveying services (to oil companies                such recovery is justified under § 284’s directive to
looking for undersea oil). WesternGeco, 585 U.S.            provide     “     ‘complete    compensation’      for
at 411, 138 S.Ct. 2129. The jury awarded                    infringements,” applied to the infringing
lost-profits damages to WesternGeco, under the              (making-and-supplying) actions specified in §
patent statute’s damages provision, 35 U.S.C. §             271(f)(2), which the Court held to be domestic
284,6 for the foreign survey-services sales                 conduct. Id. at 408, 138 S.Ct. 2129 (quoting
WesternGeco lost to its survey-services                     General Motors Corp. v. Devex Corp., 461 U.S.
competitors that had been supplied by ION                   648, 655, 103 S.Ct. 2058, 76 L.Ed.2d 211 (1983)).
Geophysical. Id. This court, relying on Power
Integrations, held that award to be an                      The Supreme Court reached that conclusion by
impermissible extraterritorial application of § 284.        applying to the relevant patent-law statutes its
WesternGeco, 791 F.3d at 1350–51.                           two-step framework for deciding when an
5      Whoever without authority supplies or causes to      application of a statute is impermissibly
       be supplied in or from the United States any         extraterritorial. Under that framework, which starts
       component of a patented invention that is            with a presumption that a statute lacks
       especially made or especially adapted for use in     extraterritorial reach, a court ordinarily asks, first,
       the invention and not a staple article or            “whether the presumption against extraterritoriality
       commodity of commerce suitable for substantial       has been rebutted” (by clear enough congressional
       noninfringing use, where such component is           action) and, second (if the presumption has not
       uncombined in whole or in part, knowing that
                                                            been rebutted), “whether the case involves a
       such component is so made or adapted and
       intending that such component will be
                                                            domestic application of the statute” (rather than an
       combined outside of the United States in a           extraterritorial application). Id. at 413, 138 S.Ct.
       manner that would infringe the patent if such        2129 (internal quotation marks omitted where
       combination occurred within the United States,       quoting RJR Nabisco, Inc. v. European
       shall be liable as an infringer.                     Community, 579 U.S. 325, 337, 136 S.Ct. 2090,
       35 U.S.C. § 271(f)(2).                               195 L.Ed.2d 476 (2016)). The Court decided that
                                                            the case should be decided by skipping the first
                                                            step and proceeding immediately to the second
                                                            step. Id. In conducting the second-step
6      Upon finding for the claimant the court shall
       award the claimant damages adequate to               inquiry—into whether the statutory application at
       compensate for the infringement, but in no           issue is a “domestic application”—courts are to
       event less than a reasonable royalty for the use     identify “the statute’s focus,” id. (internal quotation
       made of the invention by the infringer, together     marks omitted where quoting RJR Nabisco, 579
       with interest and costs as fixed by the court.       U.S. at 337, 136 S.Ct. 2090), where the statute’s
         When the damages are not found by a jury,          “focus is the object of its solicitude, which can
         the court shall assess them. In either event the   include the conduct it seeks to regulate, as well as
         court may increase the damages up to three         the parties and interests it seeks to protect or
         times the amount found or assessed.
                                                            vindicate,” id. at 414, 138 S.Ct. 2129 (cleaned up,
         Increased damages under this paragraph shall
         not apply to provisional rights under [35          internal quotation marks omitted where quoting
         U.S.C. § 154(d)].                                  Morrison v. National Australia Bank Ltd., 561 U.S.
         The court may receive expert testimony as an       247, 267, 130 S.Ct. 2869, 177 L.Ed.2d 535 (2010),
         aid to the determination of damages or of          and an earlier decision).
         what royalty would be reasonable under the
         circumstances.                                     When initially describing the relevant statutory
       35 U.S.C. § 284.                                     provisions, the Court started by quoting the
                                                            cause-of-action provision, 35 U.S.C. § 281 (“A
                                                            patentee shall have remedy by civil action for
*13 The Supreme Court reversed, concluding that             infringement of his patent.”), before quoting
the lost-profits award for the § 271(f)(2)                  provisions of § 271 on infringement and § 284 on
infringement     was    not      impermissibly              damages. WesternGeco, 585 U.S. at 409–11, 138

                © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                   13
            Case 3:20-cv-04151-WHO Document 399-3 Filed 04/01/24 Page 16 of 23


Brumfield, Trustee for Ascent Trust v. IBG LLC, --- F.4th ---- (2024)



S.Ct. 2129; see also Dowling v. United States, 473         infringement was not the same as injury and did
U.S. 207, 227 n.19, 105 S.Ct. 3127, 87 L.Ed.2d             not encompass all the conduct that contributed to
152 (1985) (referring to § 281 as providing a              producing the injury. In particular, the Court
“cause of action”). But when determining the               reasoned that the infringement remained domestic
“statutory focus” for its extraterritoriality analysis,    even though foreign conduct (e.g., ION
the Court “beg[a]n with § 284,” the damages                Geophysical’s customers’ system assembly and
provision. WesternGeco, 585 U.S. at 414, 138 S.Ct.         sale of survey services) contributed to
2129. It reasoned that “[t]he portion of § 284 at          WesternGeco’s loss of sales abroad; such
issue” was the portion stating that “ ‘the court shall     “overseas events were merely incidental to the
award the claimant damages adequate to                     infringement”; and those events “do not have
compensate for the infringement,’ ” and it noted its       ‘primacy’ for purposes of the extraterritoriality
precedents’ explanations that § 284’s “overriding          analysis.” Id. at 416, 138 S.Ct. 2129 (quoting
purpose ... is to afford patent owners complete            Morrison, 561 U.S. at 267, 130 S.Ct. 2869). The
compensation for infringements,” id. (cleaned up,          Court also indicated that damages are not the same
internal quotation marks omitted where quoting             as injury. Id. at 417, 138 S.Ct. 2129 (stating that
General Motors, 461 U.S. at 655, 103 S.Ct. 2058),          the dissent’s “position wrongly conflates legal
and that the § 284 “question ... is how much ... the       injury with the damages arising from that injury”).
Patent Holder suffered by the infringement,” id. at        Relatedly, the Court explained that WesternGeco
414–15, 138 S.Ct. 2129 (cleaned up, internal               was critically different from RJR Nabisco, whose
quotation marks omitted where quoting Aro                  pertinent provision was a civil-cause-of-action
Manufacturing      Co.     v.    Convertible       Top     provision, 18 U.S.C. § 1964(c), that contained
Replacement Co., 377 U.S. 476, 507, 84 S.Ct.               language expressly referring to injury, language
1526, 12 L.Ed.2d 457 (1964) (“Aro II,” a common            that the Court in RJR Nabisco held to be limited to
shorthand)). Based on the “the infringement”               “ ‘a domestic injury.’ ” WesternGeco, 585 U.S. at
language of § 284 and its precedents, the Court            416, 138 S.Ct. 2129 (quoting RJR Nabisco, 579
concluded: “Accordingly, the infringement is               U.S. at 346, 136 S.Ct. 2090)). Whereas RJR
plainly the focus of § 284.” Id. at 415, 138 S.Ct.         Nabisco involved “a substantive element of a cause
2129.                                                      of action,” the Court in WesternGeco said, 35
                                                           U.S.C. § 284 is a “remedial damages provision,”
*14 Having identified “the infringement” as the            not a cause-of-action provision, let alone one with
focus of § 284, the Court, to complete its                 an express injury element. Id.7
determination whether “the conduct relevant to the          7     Although the Court had earlier referred to the
statutory focus in this case is domestic,” then                   cause-of-action provision for the patent statute,
discussed the statutory provision defining “the                   35 U.S.C. § 281, the Court in WesternGeco did
infringement” at issue in the case. Id. at 414, 138               not refer to § 281 in this RJR Nabisco
S.Ct. 2129. That provision was § 271(f)(2), which,                discussion—perhaps reflecting the fact that
the Court concluded, “focuses on domestic                         there was no dispute that the cause of action
conduct.” Id. at 415, 138 S.Ct. 2129. The Court                   was available to WesternGeco (which was
                                                                  awarded some damages not subject to challenge
explained: “The conduct that § 271(f)(2)
                                                                  for extraterritoriality). The Court thus did not
regulates—i.e., its focus—is the domestic act of                  mention that § 281 itself contains no specific
‘supply[ing] in or from the United States.’ ” Id.                 reference to injury, making it unlike 18 U.S.C. §
(alteration in original) (quoting § 271(f)(2)); see               1964(c). The United States pointed out this
also id. (concluding that § 271(f) “vindicates                    difference in distinguishing RJR Nabisco in its
domestic interests” because it reaches domestically               amicus brief in WesternGeco. Brief for the
made components; and that the focus is on “the act                United States as Amicus Curiae Supporting
of exporting components from the United States,”                  Petitioner, at 29–30, WesternGeco, 585 U.S.
which is “domestic infringement”). Therefore, the                 407, 2018 WL 1168813.
Court concluded, “the lost-profits damages that
were awarded to WesternGeco were a domestic
application of § 284.” Id. at 415–16, 138 S.Ct.            Importantly for the present case, it is clear that the
2129.                                                      Court in WesternGeco effectively recognized that a
                                                           causation requirement is part of the § 284 standard,
The Court added several points in response to              which authorizes an award “adequate to
objections to its analysis. It indicated that              compensate for” the infringement. The Court

                © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                   14
            Case 3:20-cv-04151-WHO Document 399-3 Filed 04/01/24 Page 17 of 23


Brumfield, Trustee for Ascent Trust v. IBG LLC, --- F.4th ---- (2024)



quoted formulations inherently acknowledging a             sell, or sells any patented invention, within the
causation requirement that demands at least but-for        United States or imports into the United States any
causation. It quoted the Aro II description of § 284       patented invention during the term of the patent
as asking “how much ... the Patent Holder ...              therefor, infringes the patent.” 35 U.S.C. § 271(a)
suffered by the infringement” and also the Aro II          (emphases added). At least the making, using,
statement that the patentee is entitled to recover         offering to sell, and selling provisions are expressly
“the difference between [its] pecuniary condition          limited to domestic acts.8
after the infringement, and what [its] condition            8     The remaining act, importing into the United
would have been if the infringement had not                       States, might also be properly characterized as a
occurred.” WesternGeco, 585 U.S. at 414–15, 417,                  domestic act. Cf. Carnegie Mellon University v.
138 S.Ct. 2129 (alterations in original) (emphasis                Marvell Technology Group, Ltd., 807 F.3d
added) (internal quotation marks omitted where                    1283, 1308 (Fed. Cir. 2015) (Regarding
quoting Aro II, 377 U.S. at 507, 84 S.Ct. 1526).                  “import[ing] into the United States for use in the
And it quoted the statement in General Motors that                United States,” the court stated: “Section 271(a)
                                                                  makes clear that Congress meant to reach such
compensation for infringement is “adequate” when
                                                                  ‘import[ation]’ and ‘use[ ]’ as domestic
it places the patentee “in as good a position as he               conduct.”). In any event, Congress clearly
would have been in if the patent had not been                     authorized coverage of importing as an
infringed.” Id. at 417, 138 S.Ct. 2129 (quoting 461               infringing act, so if importing is characterized as
U.S. at 655, 103 S.Ct. 2058); see also General                    extraterritorial, the statute provides a “clear
Motors, 461 U.S. at 654–55, 103 S.Ct. 2058                        indication of an extraterritorial application,”
(describing § 284 as providing for “full                          thus rebutting the presumption against
compensation for ‘any damages’ he suffered as a                   extraterritoriality at the first step of the two-step
result of the infringement” (emphasis added)                      analysis. WesternGeco, 585 U.S. at 413, 138
                                                                  S.Ct. 2129 (internal quotation marks omitted).
(internal quotation marks omitted where quoting
legislative history)). Finally, the Court in
WesternGeco concluded by calling out the
unaddressed issue of the scope of the causation            If the exporting covered by § 271(f)(2) is a
requirement: “In reaching this holding, we do not          domestic act for purposes of the extraterritoriality
address the extent to which other doctrines, such as       analysis, as WesternGeco held, so too are the §
proximate cause, could limit or preclude damages           271(a)-covered acts at issue in this case. The
in particular cases.” 585 U.S. at 417 n.3, 138 S.Ct.       WesternGeco extraterritoriality framework for
2129.                                                      damages under § 284 therefore applies to the
                                                           infringement under § 271(a) here.



3
                                                           4
*15 The first doctrinal issue before us is whether
the WesternGeco framework applies when the                 We also conclude that the WesternGeco framework
direct infringement in question (either itself or as a     applies to a reasonable-royalty award, not just a
component of indirect infringement) is one of the          lost-profits award, under § 284, though its
acts at issue here accused of infringing under §           application must reflect the established differences
271(a). We readily conclude that it does.                  in standards for the two types of awards.

Nothing about the WesternGeco analysis of § 284,           Although the damages at issue in WesternGeco
the damages provision, or about § 281, the                 were lost-profits damages, 585 U.S. at 411, 417,
cause-of-action provision, is altered when “the            138 S.Ct. 2129, the Court’s statutory analysis did
infringement” at issue is infringement under §             not distinguish the forms of damages. In discussing
271(a) rather than § 271(f). Under WesternGeco             § 284, the Court described it as providing “a
we must examine the particular acts alleged to             general damages remedy,” and its essential point
constitute infringement under particular statutory         about § 284 was that damages were for “the
provisions to determine if the allegations focus on        infringement.” Id. at 414–15, 138 S.Ct. 2129. In
domestic conduct. Section 271(a) provides that             describing the basic principle governing damages
“whoever without authority makes, uses, offers to          under § 284, the Court relied on two precedents

                © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                       15
           Case 3:20-cv-04151-WHO Document 399-3 Filed 04/01/24 Page 18 of 23


Brumfield, Trustee for Ascent Trust v. IBG LLC, --- F.4th ---- (2024)



that involved reasonable royalties. Id. (relying on        involved.” Dowagiac, 235 U.S. at 648, 35 S.Ct.
General Motors and Aro II). The Supreme Court in           221.
Aro II construed the language of § 284 as treating
the reasonable royalty authorized by the provision         This case involves a reasonable royalty, and
as a form of damages rather than as a substitute for       repeatedly articulated standards frame how the
damages, 377 U.S. at 504–08, 84 S.Ct. 1526,                particular issue presented here is properly
notwithstanding the difference in conceptual               formulated. “There is no dispute here about the
foundation of lost profits and a reasonable royalty        propriety        of     using      the      common
(at least when not measured by an established              hypothetical-negotiation approach to calculating a
royalty); and we have consistently followed that           reasonable royalty, under which the finder of fact
treatment, see, e.g., Rite-Hite Corp. v. Kelley Co.,       ‘attempts to ascertain the royalty upon which the
56 F.3d 1538, 1544–45 (Fed. Cir. 1995) (en banc);          parties would have agreed had they successfully
LaserDynamics, Inc. v. Quanta Computer, Inc.,              negotiated an agreement just before infringement
694 F.3d 51, 66 (Fed. Cir. 2012); Pavo Solutions           began.’ ” Asetek Danmark A/S v. CMI USA Inc.,
LLC v. Kingston Technology Co., 35 F.4th 1367,             852 F.3d 1352, 1362 (Fed. Cir. 2017) (quoting
1379 (Fed. Cir. 2022); VLSI Technology LLC v.              Lucent Technologies, Inc. v. Gateway, Inc., 580
Intel Corp., 87 F.4th 1332, 1345 (Fed. Cir. 2023).         F.3d 1301, 1324 (Fed. Cir. 2009)); see Jury
We hold, therefore, that the Court’s framework in          Instructions at 51–56, Trading Technologies
WesternGeco, and its conclusions about what is a           International, Inc. v. IBG LLC, No. 10 C 715 (N.D.
domestic rather than extraterritorial application of       Ill. Sept. 2, 2021), ECF No. 2130. Many authorities
§ 284, must apply to a reasonable-royalty case.            address issues concerning the hypothetical
                                                           negotiation, which, operating under certain
*16 That conclusion hardly means that the analysis         assumptions, at its core is a process for identifying
of a reasonable-royalty case may ignore the                the incremental value of the claimed technology
well-recognized differences between lost-profits           over noninfringing alternatives and determining
and reasonable-royalty damages, conceptually and           how that gain would be shared. See, e.g., VLSI, 87
in the formulations governing their availability and       F.4th at 1345–46; Asetek Danmark, 852 F.3d at
calculation. An award of lost profits generally            1362–63; Carnegie Mellon, 807 F.3d at 1304–05;
depends on showing the existence and magnitude             AstraZeneca, 782 F.3d at 1334–44; Aqua Shield v.
of profits lost to the patentee on sales the patentee      Inter Pool Cover Team, 774 F.3d 766, 770 (Fed.
did not make, or made at lower prices, as a result,        Cir. 2014); Lucent, 580 F.3d at 1324–25.
under proper causation standards, of the
infringement. See, e.g., Mentor Graphics Corp. v.          The foundational principle is that “the royalty due
EVE-USA, Inc., 851 F.3d 1275, 1283–90 (Fed. Cir.           for patent infringement should be the value of what
2017); Ericsson, Inc. v. Harris Corp., 352 F.3d            was taken—the value of the use of the patented
1369, 1376–79 (Fed. Cir. 2003); Rite-Hite, 56 F.3d         technology.” AstraZeneca, 782 F.3d at 1344
at 1544–49; see also Dowagiac Manufacturing Co.            (emphasis added) (internal quotation marks
v. Minnesota Moline Plow Co., 235 U.S. 641, 648,           omitted); see VLSI, 87 F.4th at 1345; Aqua Shield,
35 S.Ct. 221, 59 L.Ed. 398 (1915). “The reasonable         774 F.3d at 770. One aspect of that principle is that
royalty theory of damages, however, seeks to               “[t]he royalty base for reasonable royalty damages
compensate the patentee not for lost sales caused          cannot include activities that do not constitute
by the infringement, but for its lost opportunity to       patent infringement, as patent damages are limited
obtain a reasonable royalty that the infringer would       to those ‘adequate to compensate for the
have been willing to pay if it had been barred from        infringement.’ ” AstraZeneca, 782 F.3d at 1343
infringing.” AstraZeneca AB v. Apotex Corp., 782           (quoting 35 U.S.C. § 284). For example, a patentee
F.3d 1324, 1334 (Fed. Cir. 2015). “As the                  “may of course obtain damages only for acts of
exclusive right conferred by the patent was                infringement after the issuance of the ... patent.”
property, and the infringement was a tortious              Hoover Group, Inc. v. Custom Metalcraft, Inc., 66
taking of a part of that property, the normal              F.3d 299, 304 (Fed. Cir. 1995) (quoted with
measures of damages was the value of what was              approval in AstraZeneca, 782 F.3d at 1343).
taken,” and it is “permissible to show the value by        Relatedly, the bottom-line royalty “must be
proving what would have been a reasonable                  ‘apportion[ed] to [the value of the patented
royalty, considering the nature of the invention, its      technology]—by separating out and excluding
utility and advantages, and the extent of the use          other value in economic products or practices.”

                © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                16
           Case 3:20-cv-04151-WHO Document 399-3 Filed 04/01/24 Page 19 of 23


Brumfield, Trustee for Ascent Trust v. IBG LLC, --- F.4th ---- (2024)



VLSI, 87 F.4th at 1345 (citing numerous cases). In         of remoteness. Rite-Hite, 56 F.3d at 1546 (“the
other words, the incremental value to be allocated,        ‘test’ for compensability ... under § 284 is not
in the hypothetical negotiation, is the value of the       solely a ‘but for’ test”; additional limits, including
claimed technology (not, e.g., of unclaimed                limits on remoteness, apply, labeled “proximate
product improvements) over that of noninfringing           cause”). We have said, too, in the lost-profits
alternatives.                                              setting, that “reasonable, objective foreseeability”
                                                           is “generally” sufficient for proximate causation,
Those principles point to a minimum requirement            while indicating that a different conclusion might
for a patentee seeking reasonable-royalty damages          be justified if there is “a persuasive reason to the
based on foreign conduct that is not independently         contrary.” Id.
infringing. Under the foregoing principles, the
hypothetical negotiation must turn on the amount           The Supreme Court, for its part, has noted that
the hypothetical infringer would agree to pay to be        proximate causation is more than but-for causation,
permitted to engage in the domestic acts                   see, e.g., Anza v. Ideal Steel Supply Corp., 547
constituting “the infringement.” 35 U.S.C. § 284. If       U.S. 451, 456–57, 126 S.Ct. 1991, 164 L.Ed.2d
the patentee seeks to increase that amount by              720 (2006), containing a directness requirement, id.
pointing to foreign conduct that is not itself             at 457–58, 126 S.Ct. 1991, and described the
infringing, the patentee must, at the least, show          proximate-cause requirement as the “traditional
why that foreign conduct increases the value of the        requirement,” Bank of America Corp. v. City of
domestic infringement itself—because, e.g., the            Miami, 581 U.S. 189, 201, 137 S.Ct. 1296, 197
domestic infringement enables and is needed to             L.Ed.2d 678 (2017). More specifically, the Court
enable otherwise-unavailable profits from conduct          has explained that “[i]t is a well established
abroad—while respecting the apportionment limit            principle of [the common] law that in all cases of
that excludes values beyond that of practicing the         loss, we are to attribute it to the proximate cause,
patent. This kind of causal connection, framed in          and not to any remote cause” and that the Court
terms of the agreement-to-pay aspect of a                  “assume[s] Congress is familiar with the
hypothetical     negotiation, is     a    necessary        common-law rule and does not mean to displace it
beginning—we need not here say it is                       sub silentio.” Id. (internal quotation marks omitted
sufficient—for a foreign-conduct analysis in a             where quoting Lexmark International, Inc. v. Static
reasonable-royalty case. Cf. Carnegie Mellon, 807          Control Components, Inc., 572 U.S. 118, 132, 134
F.3d at 1307 (noting that defendant’s sales abroad         S.Ct. 1377, 188 L.Ed.2d 392 (2014)). And, based
were “strongly enough tied to its domestic                 on that logic, the Court held the proximate-cause
infringement as a causation matter to have been            requirement applicable to a statutory claim that was
part of the hypothetical-negotiation agreement,”           “akin to a tort action,” id. (internal quotation marks
before moving on to apply extraterritoriality              omitted)—a characterization that fits patent
standards based on Power Integrations, now                 infringement, described by the Court as “a tortious
superseded by WesternGeco).                                taking,” Dowagiac, 235 U.S. at 648, 35 S.Ct. 221.9
                                                           At the same time, the Supreme Court explained
                                                           that, for some statutes, “foreseeability alone is not
                                                           sufficient to establish proximate cause,” Bank of
                                                           America, 581 U.S. at 201, 137 S.Ct. 1296, and that
5                                                          the “[p]roximate-cause analysis is controlled by the
                                                           nature of the statutory cause of action,” id. (internal
*17 Finally, and relatedly, because WesternGeco            quotation marks omitted where quoting Lexmark,
establishes a new framework, of which causation is         572 U.S. at 133, 134 S.Ct. 1377). In finding
a necessary part, a few observations on causation          foreseeability insufficient under the statute at issue
are warranted based on the Supreme Court’s note            in Bank of America, the Court considered the
that it was not ruling on “the extent to which other       consequences of the contrary view in the context of
doctrines, such as proximate cause, could limit or         that statute. Id. at 202–03, 137 S.Ct. 1296.
preclude damages in particular cases.” 585 U.S. at
                                                            9     See also Carbice Corp. of America v. American
417 n.3, 138 S.Ct. 2129.
                                                                  Patents Development Corp., 283 U.S. 27, 33, 51
                                                                  S.Ct. 334, 75 L.Ed. 819 (1931); Belknap v.
We have recognized that “proximate” causation is                  Schild, 161 U.S. 10, 17, 16 S.Ct. 443, 40 L.Ed.
required and that proximate causation requires                    599 (1896); Schillinger v. United States, 155
but-for causation plus more, including the absence
               © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                   17
            Case 3:20-cv-04151-WHO Document 399-3 Filed 04/01/24 Page 20 of 23


Brumfield, Trustee for Ascent Trust v. IBG LLC, --- F.4th ---- (2024)



       U.S. 163, 169, 15 S.Ct. 85, 39 L.Ed. 108            1
       (1894); Wordtech Systems, Inc. v. Integrated
       Networks Solutions, Inc., 609 F.3d 1308, 1313       Infringement under § 271(a) is one of the specified
       (Fed. Cir. 2010); Mars, Inc. v. Coin Acceptors,     acts involving the “patented invention”—making,
       Inc., 527 F.3d 1359, 1365 (Fed. Cir. 2008); cf.     using, offering to sell, selling, or importing it. 35
       Mentor Graphics, 851 F.3d at 1284 (analogizing      U.S.C. § 271(a). “[T]he claims measure the
       to tort law).                                       invention,” Continental Paper Bag Co. v. Eastern
                                                           Paper Bag Co., 210 U.S. 405, 419, 28 S.Ct. 748,
                                                           52 L.Ed. 1122 (1908); “[e]ach element contained in
The foregoing authorities raise questions about the        a patent claim is deemed material to defining the
proper approach to determining, based on “other            scope of the patent invention, ... and a patentee’s
doctrines, such as proximate cause,” WesternGeco,          rights extend only to the claimed combination of
585 U.S. at 417 n.3, 138 S.Ct. 2129, when foreign          elements, and no further,” Limelight Networks, Inc.
conduct can properly play a role in calculating            v. Akamai Technologies, Inc., 572 U.S. 915, 921,
patent damages. One such question is whether the           134 S.Ct. 2111, 189 L.Ed.2d 52 (2014) (internal
“reasonable, objective foreseeability” presumptive         quotation marks omitted where quoting
standard for lost profits, Rite-Hite, 56 F.3d at 1546,     Warner-Jenkinson Co., Inc. v. Hilton Davis
is applicable where the damages are for a                  Chemical Co., 520 U.S. 17, 29, 117 S.Ct. 1040,
(non-established) reasonable royalty, whose                137 L.Ed.2d 146 (1997)); and “infringement must
conceptual foundation is notably different from            be decided with respect to each asserted claim as a
that of lost profits. Another question concerns the        separate entity,” W.L. Gore & Associates, Inc. v.
long-recognized        general      avoidance       of     Garlock, Inc., 721 F.2d 1540, 1559 (Fed. Cir.
extraterritorial reach that is an aspect of the            1983). See also, e.g., Teva Pharmaceuticals USA,
statutory context. Microsoft Corp. v. AT & T Corp.,        Inc. v. Sandoz, Inc., 574 U.S. 318, 321, 332, 135
550 U.S. 437, 455–56, 127 S.Ct. 1746, 167                  S.Ct. 831, 190 L.Ed.2d 719 (2015); Altoona Publix
L.Ed.2d 737 (2007); Deepsouth Packing Co. v.               Theatres v. American Tri-Ergon Corp., 294 U.S.
Laitram Corp., 406 U.S. 518, 531, 92 S.Ct. 1700,           477, 487, 55 S.Ct. 455, 79 L.Ed. 1005 (1935);
32 L.Ed.2d 273 (1972); Carnegie Mellon, 807 F.3d           Phillips v. AWH Corp., 415 F.3d 1303, 1312 (Fed.
at 1306; Power Integrations, 711 F.3d at 1371.             Cir. 2005) (en banc); Pall Corp. v. Micron
What, if any, room is there to take that                   Separations, Inc., 66 F.3d 1211, 1220 (Fed. Cir.
consideration into account in applying the                 1995); In re Vogel, 422 F.2d 438, 441 (CCPA
proximate-cause requirement, itself not addressed          1970).
in WesternGeco, without contradicting the
Supreme Court’s ruling in WesternGeco? We need             Here, there are two groups of claims at issue:
not and do not here suggest answers to, or further         claims to a method; and claims to a computer
explore, those or other questions.                         readable medium (CRM) containing computer
                                                           code. Infringement therefore is limited to making,
                                                           using, offering to sell, selling, or importing a
                                                           method or a CRM. Ms. Lawton’s at-issue proposal,
                                                           however, does not focus on one of those acts.
B
                                                           In that proposal, the asserted infringement is
*18 The requirement of the foregoing framework             “Making the Accused Product.” This language
that is dispositive here is that “the                      cannot reasonably be read to refer to the method
infringement”—the focus of § 284, as the Court in          claims. TT has not argued that it refers to making
WesternGeco repeatedly stressed—have the needed            the claimed methods. And any such reading of the
causal relationship to the foreign conduct for which       language would have to overcome at least two
recovery is sought. Ms. Lawton’s “Making the               related obstacles: There is no established
Accused Product with Foreign Damages” basis for            recognition in patent law of direct infringement by
claimed damages did not meet this fundamental              “making” a “method”; and, indeed, we have
requirement—at least because Ms. Lawton did not            indicated that direct infringement is limited to
focus on “the infringement.” That failure called for       using the method, stating that “[a] method claim is
its exclusion.                                             directly infringed only by one practicing the
                                                           patented method,” Joy Technologies, Inc. v. Flakt,
                                                           Inc., 6 F.3d 770, 775 (Fed. Cir. 1993). See NTP,
                © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                18
            Case 3:20-cv-04151-WHO Document 399-3 Filed 04/01/24 Page 21 of 23


Brumfield, Trustee for Ascent Trust v. IBG LLC, --- F.4th ---- (2024)



Inc. v. Research in Motion, Ltd., 418 F.3d 1282,           method)—in asserting the required causal
1319–21 (Fed. Cir. 2005) (explaining similar               connection to the foreign conduct for which the
recognition in congressional reports associated            proposal seeks royalty damages. We will not
with the Process Patent Amendments Act of 1988,            rewrite Ms. Lawton’s proposal to say something it
Pub. L. No. 100-418, Title IX, § 9003, 102 Stat.           does not.
1563–67; ultimately reserving novel issue whether
methods can be sold or offered for sale); Timothy
R. Holbrook, Method Patent Exceptionalism, 102
Iowa L. Rev. 1001, 1014 (2017) (“Generally,
process patents are infringed only when the steps          2
of the process are performed.”).
                                                           That deficiency suffices for affirmance of the
For Ms. Lawton’s proposal to suffice even to begin         evidence-exclusion ruling, but it is worth noting at
a showing of causation based on domestic                   least one other seeming deficiency in Ms. Lawton’s
“infringement,” therefore, it would have to refer to       proposal, which reinforces our unwillingness to
the CRM claims. But Ms. Lawton in proposing the            rewrite Ms. Lawton’s proposal. Although they
theory, and TT in explaining it, have pointedly not        expressly invoked WesternGeco, Ms. Lawton and
focused on making an individual memory-device              TT presented no focused, coherent explanation of
unit, whether freestanding (like a memory stick) or        the required causal connection to domestic
a part of a larger physical unit (like a hard drive in     infringement, even putting aside the mismatch
a personal computer or server). They have referred,        between the proposal and the claims.
instead, to the TWS BookTrader software
itself—“the instructions themselves detached from          Notable in this respect is a fact about timing. We
any medium” (rather than a “tangible ‘copy’ ”),            may assume (without deciding) that IBG had to
“software in the abstract,” software “[a]bstracted         make early CRMs domestically (or practice the
from a usable copy.” Microsoft, 550 U.S. at                claimed method) as part of its process of
447–448, 449 n.10, 451, 451 n.12, 127 S.Ct. 1746.          developing its software and that the value of such
Ms. Lawton stated, using the singular when                 development work to IBG might reflect
discussing what was “made,” that “BookTrader is            prospective foreign-earned revenue for the
the Accused Product and is included in every               resulting product. Cf. Carnegie Mellon, 807 F.3d at
version and every download of TWS and                      1294, 1297, 1307 (referring to payment for
WebTrader,” J.A. 87793, and it was “designed and           domestic infringement that is part of development
made” and “developed” and “upgrade[d]” in the              work that, when completed, would produce large
United States before being “provided ... to                foreign revenues). In this case, however, according
customers around the world,” J.A. 87851–53. TT,            to TT and Ms. Lawton, IBG’s development of its
explaining Ms. Lawton’s proposal in the district           BookTrader product meeting all claim limitations
court, focused on domestic designing and                   occurred before TT’s patents issued: TT accused
programming of TWS BookTrader. J.A. 88411–12;              IBG of marketing its BookTrader product before
see also Oral Arg. at 14:07–14:20 (same).                  July 20, 2004, which caused infringement to begin
                                                           precisely when the ’304 patent issued. On that
*19 The Supreme Court has recognized the                   premise, IBG’s making of CRMs in the initial
important distinction between software and a               creation of a BookTrader product meeting all claim
particular copy of it on a CRM, as just noted. See         limitations was not infringing under § 271(a), and
Microsoft, 550 U.S. at 447–448, 449 n.10, 451, 451         IBG therefore did not need to pay TT anything for
n.12, 127 S.Ct. 1746. Even if the BookTrader               that work, which could not properly be included in
software as such could be claimed (without                 the calculation in the hypothetical negotiation held
violating statutory requirements such as 35 U.S.C.         “just before” July 20, 2004. See Asetek Danmark,
§ 101)—which we need not decide—the software               852 F.3d at 1362; Lucent, 580 F.3d at 1324.
itself is not claimed in the ’304 and ’132 patent
claims at issue. Thus, Ms. Lawton’s proposal is            Later domestic making of BookTrader-containing
legally insufficient, even under the WesternGeco           CRMs (or practicing of the claimed methods) could
framework, for the simple reason that, though it           be infringing, of course, and properly be subject to
claims a “making,” it does not start from an act of        a royalty. But TT was permitted to introduce
“infringement”—making a claimed CRM (or                    evidence that some foreign users of BookTrader
                                                           obtained their copies from domestic acts of making
                © 2024 Thomson Reuters. No claim to original U.S. Government Works.                               19
           Case 3:20-cv-04151-WHO Document 399-3 Filed 04/01/24 Page 22 of 23


Brumfield, Trustee for Ascent Trust v. IBG LLC, --- F.4th ---- (2024)



a copy or selling. FRE 702 Opinion, 2021 WL                 claims.
5038754, at *2. The only disallowed proposal
therefore had to involve making of copies abroad            There is, in short, an apparent deficiency over and
for foreign users (and foreign sales).                      above the fundamental infringement-identifying
                                                            one previously discussed. We need not, however,
On TT’s and Ms. Lawton’s premise that pre-July              definitively draw a conclusion about the presence
20, 2004 versions of TWS BookTrader met the                 of this additional deficiency. The fundamental
limitations of the ’304 and ’132 patents’ claims, TT        deficiency discussed above suffices for affirmance
has not offered a concrete, coherent account of             of the district court’s Rule 702 exclusion ruling.
why, in the hypothetical negotiation, the royalty for
new domestic acts of making claimed CRMs (or
practicing claimed methods), starting July 20,
2004, would have properly been increased to
reflect the prospective making and sale of CRMs             IV
abroad for use abroad. On the noted premise, IBG,
even before the patents issued, already had CRMs            In its final challenge in this appeal, TT asserts that
containing TWS BookTrader that met the patents’             the district court “abused its discretion” when it
limitations. “[N]either export from the United              denied TT’s motion for a new damages trial and
States nor use in a foreign country of a product            new discovery on damages, a motion in which TT
covered by a United States patent constitutes               asserted that IBG committed fraud regarding its
infringement.” Johns Hopkins University v.                  own calculation of damages. TT’s Opening Br. at
CellPro, Inc., 152 F.3d 1342, 1366 (Fed. Cir.               52. As the district court noted in denying the
1998). And TT has not argued that the making of             motion, the substance of TT’s request is materially
CRMs abroad would be infringing, even if the                the same whether it is considered under Rule 59 or
software installed abroad came from the United              under Rule 60(b)(3), Post-Trial Opinion, 586 F.
States, either under § 271(a), see Centillion Data          Supp. 3d at 833–34, and TT has not distinguished
Systems, LLC v. Qwest Communications                        the two Rules in its arguments on appeal, TT’s
International, Inc., 631 F.3d 1279, 1288 (Fed. Cir.         Opening Br. at 52–67. TT itself endorses an “abuse
2011); Deepsouth, 406 U.S. at 527, 92 S.Ct. 1700,           of discretion” standard for our review of the district
or under § 271(f), see Microsoft, 550 U.S. at               court’s denial, id. at 33, 52, 117 S.Ct. 1040,
449–50, 127 S.Ct. 1746 (software itself is not a            reflecting the Seventh Circuit’s precedents. See
“component” under § 271(f)).10                              Abellan v. Lavelo Property Management, LLC, 948
                                                            F.3d 820, 830 (7th Cir. 2020) (Rule 59); Philos
10     Congress responded to Deepsouth in 1984, but         Technologies, Inc. v. Philos & D, Inc., 802 F.3d
       it did not change § 271(a) or, therefore, redefine
                                                            905, 917 (7th Cir. 2015) (Rule 60(b)(3)); see also
       when “making” occurs under that provision.
       Rather, Congress added a new subsection (f)          Cap Export, LLC v. Zinus, Inc., 996 F.3d 1332,
       defining new infringing acts. See Microsoft, 550     1338 (Fed. Cir. 2021) (following regional-circuit
       U.S. at 442–45, 127 S.Ct. 1746; see also Life        law). The Seventh Circuit has stated that relief
       Technologies Corp. v. Promega Corp., 580 U.S.        under 60(b)(3) is “ ‘an extraordinary remedy and is
       140, 151–52, 137 S.Ct. 734, 197 L.Ed.2d 33           granted only in exceptional circumstances.’ ”
       (2017).                                              Wickens v. Shell Oil Co., 620 F.3d 747, 759 (7th
                                                            Cir. 2010) (quoting Dickerson v. Board of
                                                            Education, 32 F.3d 1114, 1116 (7th Cir. 1994)).
*20 IBG might of course infringe by domestically
making new CRMs containing upgraded versions                TT’s argument on appeal reduces to the assertion
of TWS BookTrader. But TT has not shown how                 that IBG, whose damages calculation was based on
value added by the upgrades would be properly               counting particular accused trades made by users of
added to the royalty in light of the apportionment          IBG’s Trader Workstation Platform (TWS), failed
requirement to avoid charging for value not                 to give TT enough information about how IBG was
attributable to the claimed invention. In particular,       counting the trades—more particularly, what role
TT has not explained how such upgrade value                 the BookTrader feature of TWS had to play in a
would be anything but the value of features beyond          trade (e.g., as originator or as submitter) for the
what is required by the patent claims, on TT’s and          trade to be counted. See TT’s Opening Br. at
Ms. Lawton’s premise about pre-July 20, 2004                59–60. We see no clear error, based on the record,
versions of TWS Book Trader coming within the               in the district court’s careful evaluation of the
                © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                  20
            Case 3:20-cv-04151-WHO Document 399-3 Filed 04/01/24 Page 23 of 23


Brumfield, Trustee for Ascent Trust v. IBG LLC, --- F.4th ---- (2024)



evidence available to TT through discovery and its             district court’s denial of TT’s post-trial motion.
determination that IBG did disclose the key
information that TT alleged was withheld,
including the list of various TWS tools (features).
Post-Trial Opinion, 586 F. Supp. 3d at 835–36.11
On the basis of its supported findings, the court              V
could properly conclude, as it did, that TT had
ample reason and opportunity before trial to                   *21 We have considered TT’s other arguments,
uncover the now-asserted problems with IBG’s                   and we find them unpersuasive. For the foregoing
evidence that TT says it uncovered only through its            reasons, we affirm the district court’s judgment,
post-trial investigation. Id. at 837–38.                       including its grant of summary judgment of
                                                               ineligibility of the asserted claims of the ’411 and
11     Nor do we see clear error in the district court’s       ’996 patents, exclusion of Ms. Lawton’s testimony
       rejection of TT’s assertion that IBG sponsored
                                                               on the “domestic making with foreign damages”
       false testimony, id. at 837, a ruling to which TT
       presents no meaningful challenge on appeal.
                                                               theory, and denial of TT’s motion for a new trial.

                                                               The parties shall bear their own costs.
It is institutionally important that parties generally         AFFIRMED
be held to the duty to conduct needed
investigations of facts before trial. See, e.g.,
Rutledge v. United States, 230 F.3d 1041, 1052                 All Citations
(7th Cir. 2000) (stating that “Rule 60(b) motions
cannot be used to present evidence that with due               --- F.4th ----, 2024 WL 1292151
diligence could have been introduced before
judgment”). We see no abuse of discretion in the
End of Document                                            © 2024 Thomson Reuters. No claim to original U.S. Government Works.




                  © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                      21
